






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00501-CR






Gary Allen Dunn, Appellant 


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 64750-A, HONORABLE JOE CARROLL, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N




		Gary Allen Dunn pled guilty to the felony offense of driving while intoxicated as a
repeat offender and was sentenced to nineteen years' imprisonment.  This Court dismissed Dunn's
original appeal for lack of jurisdiction because the trial court certified that this was a plea bargain
case and Dunn had no right of appeal.  See Dunn v. State, No. 03-10-00336-CR, 2010 Tex. App.
LEXIS 6361 (Tex. App.--Austin Aug. 3, 2010, no pet.).

		Subsequently, Dunn filed a post-conviction application for writ of habeas corpus.  See
Tex. Code Crim. Proc. Ann. art. 11.07 (West Supp. 2010).  The district court entered an order
recommending denial of the application and forwarded a copy of its order to the Texas Court of
Criminal Appeals.  Dunn filed a pro se notice of appeal in this Court challenging the district court's
order and then filed a motion to withdraw his appeal.

		This court has no jurisdiction over post-conviction writs of habeas corpus in felony
cases.  See Ex parte Alexander, 685 S.W.2d 57, 60 (Tex. Crim. App. 1985); Ex parte Martinez,
175&nbsp;S.W.3d 510, 512-13 (Tex. App.--Texarkana 2005, orig. proceeding); see also Tex. Code Crim.
Proc. Ann. art. 11.07, § 3 (requiring post-conviction applications for writs of habeas corpus in
felony&nbsp;cases in which death penalty was not assessed to be filed in court of original conviction
and&nbsp;made&nbsp;returnable to court of criminal appeals).  The court of criminal appeals has exclusive
jurisdiction to review the merits of a post-conviction application for habeas relief under article 11.07.
See Tex. Code Crim. Proc. Ann. art. 11.07, § 5.

		Accordingly, we dismiss the appeal for want of jurisdiction.  Dunn's motion to
withdraw his appeal is dismissed as moot.



						                                                                                     

						Jeff Rose, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed for Want of Jurisdiction

Filed:   November 9, 2011

Do Not Publish


